         Case 1:17-cv-02308-APM Document 21 Filed 08/14/18 Page 1 of 1




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

_________________________________________
                                          )
ELIJAH E. CUMMINGS, et al.,               )
                                          )
      Plaintiffs,                         )
                                          )
              v.                          )             Case No. 17-cv-02308 (APM)
                                          )
EMILY W. MURPY, Administrator,            )
General Services Administration,          )
                                          )
      Defendant.                          )
_________________________________________ )

                                            ORDER

       For the reasons set forth in the court’s Memorandum Opinion, ECF No. 20, Defendant’s

Motion to Dismiss, ECF No. 8, is granted, and Plaintiffs’ Cross-Motion for Summary Judgment,

ECF No. 11, is denied.

       This is a final, appealable order.




Dated: August 14, 2018                           Amit P Mehta
                                                 United States District Judge
